Case 17-60113-jrs         Doc 17    Filed 06/26/17 Entered 06/26/17 10:58:45         Desc Main
                                    Document      Page 1 of 2

                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         :
                                               :
FODAY VEER SINGHATEH                           :    CHAPTER        13
                                               :    CASE NO.:      17-60113-jrs
         Debtor(s).                            :

                                               :
WORLD OMNI FINANCIAL CORP.                     :
    Movant,                                    :
vs.                                            :    CONTESTED MATTER
                                               :
FODAY VEER SINGHATEH, Debtor                   :
NANCY J. WHALEY, Trustee                       :
    Respondents.                               :


                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         The Creditor, World Omni Financial Corp. (“World Omni”), the undersigned and the firm of
Tripp Scott, P.A. file this Notice of Appearance and Request for BNC notices and electronic copies
of all pleadings filed in the above-styled case.

Respectfully submitted,

Tripp Scott, PA
for the Creditor World Omni
110 SE 6th Street, 15th Floor
Fort Lauderdale, Florida 33301
bankruptcy@trippscott.com
(954) 525-7500

/s/ Angelo M. Castaldi
Angelo M. Castaldi
Florida Bar No. 119098
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                                      Document      Page 2 of 2

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    Movant,                                      :
vs.                                              :       CONTESTED MATTER
                                                 :
FODAY VEER SINGHATEH, Debtor                     :
NANCY J. WHALEY, Trustee                         :
    Respondents.                                 :


                                     CERTIFICATE OF SERVICE

         This is to certify that I have this day served all parties in the within and foregoing matter with
a copy of the attached Notice of Appearance and Request for Notice by depositing a copy of same in
the United States Mail, postage prepaid, addressed as follows:

Foday Veer Singhateh
4466 Pipemaker Bluff
Douglasville, GA 30135

E. L. Clark
Clark & Washington, LLC
Bldg. 3
3300 Northeast Expwy.
Atlanta, GA 30341

Chapter 13 Trustee, Nancy J. Whaley
303 Peachtree Center Avenue, Suite 120
Atlanta, GA 30303

On this 26th day of June, 2017,

/s/ Angelo M. Castaldi
Angelo M. Castaldi
Florida Bar No. 119098
